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JERRY L. BILLINGSLEY, ofa%§“i“§§§§;%%%
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Plalntiff,
v. No. 02-2920 B

SHELBY COUNTY DEPARTMENT
OF CORRECTION, et al.,

Defendants.

 

ORDER OVERRUL]NG OBJECTIONS OF THE PLAINTlFF AND
AFFTRMING THE ORDER OF THE MAGISTRATE JUDGE ON
PLAINTIFF'S REQUEST FOR SUBPOENAS

 

On April 29, 2005, the pLQ g Plaintiff, Jerry L. Bil]ingsley, moved for the issuance of
subpoenas for 32 witnesses to appear at the trial of this matter. The motion was referred to the
magistrate judge, Who on May 24, 2005 entered an order granting the motion in part and denying the
remainder. The Plaintiff objected to the magistrate judge's denial of his subpoena request as to one
of the potential witnesses, Charles Fisher. According to the documents filed in this case, Fisher is
a Court-appointed special master assigned to investigate the status of the Shelby County Jail and
make a report to the Court regarding his findingsl Biliingsley argued that Fisher could offer
testimony as to matters that jail officials failed to correct pursuant to Court order and which, if
corrected, would have prevented the assault that is the basis for the instant lawsuit In her order,

Magistrate Judge Diane Vescovo ruled that Billingsley had failed to establish how Fisher's testimony

Would be relevant to this case. This document entered on the docket sheet ‘n cortipllar_t_ce
with Flu|e 58 andfor 79(3) FHCP on 5 ge §§ 5

lThe appointment was made in a case unrelated to that at bar.

 

 

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In his objections, the Plaintiff contends that Fisher's testimony is necessary to show that
conditions at the jail were below constitutional standards He further avers that he spoke with Fisher
concerning the lack of cellmate supervision, incorrect detention procedures and poor administration,
all of which contributed to his alleged injuries. The Defendants insist that there is no proof any
discussion between Fisher and Billingsley actually occurred and, even if it did, that any testimony
Fisher could offer would be relevant According to the Defendants, Fisher reported that Shelby
County had developed a remedial scheme resulting in improved conditions at the jail. That scheme
included components that greatly reduced gang activity at the facility. The Defendants point out that
the report did not contain information concerning individual inmates but, rather, focused on
problems from an overall perspective

Rule 602 of the Federal Rules of Evidence provides that "[a] witness may not testify to a
matter unless evidence is introduced sufficient to support a finding that the witness has personal
knowledge of the matter." As there is nothing to suggest that Fisher possesses such personal
knowledge, and upon a review of the relevant pleadings, the Court cannot find that the magistrate
judge's decision was either clearly erroneous or contrary to law. w Fed, R. Civ. P. 72(a). Thus,
the Plaintiffs objections are OVERRULED and the magistrate judge's order is AFFIRMED.

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J. A IEL BREEN \
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This notice confirms a copy of the document docketed as number 204 in
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Honorable .l. Breen
US DISTRICT COURT

